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9
                                        NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,                      )        No.: CR 06-0181 VRW
                                                    )
13            Plaintiff,                            )
                                                    )        STIPULATION AND [PROPOSED]
14            v.                                    )        ORDER EXCLUDING TIME UNDER
                                                    )        THE SPEEDY TRIAL ACT
15   JOSE JESUS QUINONES,                           )
                                                    )
16                                                  )
                                                    )
17            Defendant.                            )
                                                    )
18
19            On Tuesday, August 1, 2006, the parties appeared before the Court for a status hearing
20   and motions and trial setting. The United States was represented by Assistant United States
21   Attorney Dennis Michael Nerney. Defendant Jose Quinones was represented at the proceeding
22   by Daniel Blank of the Office of the Federal Public Defender. The case was set for a further
23   status hearing and/or guilty pleas by the defendant..
24            During the proceeding, the Defendant Quinones and the government jointly requested a
25   continuance of the case to Tuesday, August 15, 2006 at 10:30 a.m for guilty pleas or a further
26   status hearing. The parties agreed that for such reason, counsel for the defendant would require a
27   reasonable amount of time to confer with his client and government counsel in order to resolve
28   the case. The parties requested the continuance in order to give the defendant and the


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1    government an opportunity to accomplish this objective.
2             The parties jointly requested that the time period from August 1, 2006 through and
3    including August 15, 2006 be excluded from the calculation of time under the Speedy Trial Act.
4    The defendant, through his counsel, consented to this exclusion of time.
5             Specifically, the parties moved to have the time from August 1, 2006 through and
6    including August 15, 2006 excluded from the time limits set forth in the Speedy Trial Act, 18
7    U.S.C. § 3161, on the ground that failure to exclude the time would unreasonably deny counsel
8    for the defendant the reasonable time necessary for effective preparation of counsel, taking into
9    account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv). In addition, the ends of
10   justice would be served by the Court excluding the proposed time period; these ends outweigh
11   the best interest of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(8)(A),
12   (B)(iv).
13            With the consent of the parties, the period from August 1, 2006 through and including
14   August 15, 2006 shall be excluded from the Speedy Trial Act calculation under 18 U.S.C.
15   § 3161(h)(8)(A) and (B)(iv).
16       SO STIPULATED.
17
18   DATED: 08/07/06                                  /s/ Daniel Blank
                                                   DANIEL BLANK
19                                                 Counsel for Jose Jesus Quinones
20
21   DATED: 08/03/06                                   /s/   Dennis Michael Nerney
                                                   DENNIS MICHAEL NERNEY
22                                                 Assistant United States Attorney
23
24   PURSUANT TO STIPULATION, IT IS SO ORDERED.
25
26   DATED: August 14, 2006                        __________________________________
                                                   VAUGHN R. WALKER
27                                                 UNITED STATES DISTRICT JUDGE
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